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                                  UNITED STATES DISTRICT COURT
                                                               for the
                                                   SouthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      Florida


                 MARTA REYES, et al.                             )
                                                                 )
                                                                 )
                                                                 )
                        Plaintiff(s)                             )
                                                                 )
                            v.                                           Civil Action No. 1:20-cv-21108-UU
                                                                 )
         PEOPLE'S REPUBLIC OF CHINA, et al.                      )
                                                                 )
                                                                 )
                                                                 )
                       Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) The People's Governemnt of City of Wuhan, China
                                       Attn.: Zhou Xianwang
                                       188 Yanjiang Ave, Jiang'an District, Wuhan, Hubei, China, 430012




          A lawsuit has been filed against you.
          Within  60 days after service of this summons on you (not counting the day you received it) you must
          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
Civil Procedure.   The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
address  are:
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:

                                       MATTHEW T. MOORE, ESQ.
                                       THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                       D/B/A BERMAN LAW GROUP
                                       POST OFFICE BOX 272789
                                       BOCA RATON, FL 33427
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

              Jun 16, 2020                                                                      s/ L.Brown
 Date:
                                                                                     Signature of Clerk or Deputy Clerk
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Civil Action No. 1:20-cv-21108-UU

                                                PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

        This summons for (name of individual and title, if any)
was received by me on (date)                                      .

        ’ I personally served the summons on the individual at (place)
                                                                           on (date)                            ; or

        ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                            , a person of suitable age and discretion who resides there,
        on (date)                          , and mailed a copy to the individual’s last known address; or

        ’ I served the summons on (name of individual)                                                                   , who is
        designated by law to accept service of process on behalf of (name of organization)
                                                                           on (date)                            ; or

        ’ I returned the summons unexecuted because                                                                           ; or

        ’ Other (specify):
                                                                                                                                     .


        My fees are $                      for travel and $                    for services, for a total of $          0.00          .


        I declare under penalty of perjury that this information is true.


Date:
                                                                                       Server’s signature



                                                                                   Printed name and title




                                                                                       Server’s address

Additional information regarding attempted service, etc:




        Print                    Save As...                                                                      Reset
